             Case 3:17-cr-00533-EMC Document 2604 Filed 04/21/22 Page 1 of 4




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   TOM COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 AJAY KRISHNAMURTHY (CABN 305533)
   KEVIN J. BARRY (CABN 229748)
 5 LINA PENG (NYBN 5150032)
   Assistant United States Attorney
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7050
 8        FAX: (415) 436-7050
          Ajay.krishnamurthy@usdoj.gov
 9
   Attorneys for United States of America
10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                        ) CASE NO. 17-CR-533-EMC
                                                      )
15           Plaintiff,                               ) United States’ Objection to Proposed Jury
                                                      ) Instructions
16      v.                                            )
                                                      )
17   JONATHAN JOSEPH NELSON, et al.,                  )
                                                      )
18           Defendant.                               )
                                                      )
19

20           The United States objects to the defense’s proposed jury instructions. The instructions
21 inaccurately state the law and risk confusing the jury. Moreover, because there are many more bases for

22 relevancy than stated in the instructions, and because additional bases for relevancy may or may not

23 materialize later in trial, these instructions will prove unworkable in practice.

24           I.       Background
25           The defense has asked the Court to instruct the jury that evidence of the 2008 McNears assault
26 and 2008 Livermore incident is admitted “only for the limited purpose of establishing the existence of

27 the HASC enterprise.” ECF No. 2598 at 4.

28

     USA Objections                                       1
     CR 17-533 EMC
             Case 3:17-cr-00533-EMC Document 2604 Filed 04/21/22 Page 2 of 4




 1          II.       Argument

 2          There are several reasons that the Court should not give the defense’s proposed instructions.

 3                    A. The instructions are inaccurate

 4          First, the instructions are inaccurate. “[E]vidence of uncharged crimes [is] admissible in a RICO

 5 prosecution as proof of an enterprise, of the continuity of racketeering activity, and of the defendant’s

 6 knowledge of, agreement to, and participation in the conspiracy.” United States v. Henley, 766 F.3d 893,

 7 914–15 (8th Cir. 2014) (quotation omitted). See also United States v. Finestone, 816 F.2d 583, 587 (11th

 8 Cir. 1987) (Uncharged acts were “admissible to prove the membership and participation in the RICO

 9 conspiracy.”)

10          In other words, the evidence that the United States has presented is relevant to establishing not

11 only the existence of the enterprise, but also its character, as well as the defendants’ awareness of the

12 nature of the conspiracy of which they were a part.

13          For instance, the McNears assault is relevant to proving Nelson’s participation in the conspiracy.

14 The United States anticipates that witnesses will testify that HASC members and associates often

15 discussed ongoing prosecutions; therefore, the McNears assault may also be relevant to proving Ott’s

16 and Wendt’s knowledge of the nature of the conspiracy.

17          In addition, the Superseding Indictment alleges that “HASC works cooperatively with other

18 Hells Angels chapters to engage in criminal activity.” ECF No. 374, ¶ 7. The McNears assault is

19 relevant to proving that allegation: Nelson (HASC) committed an assault along with a member of the

20 San Francisco charter (Mark Guardado).

21          Similarly, the Superseding Indictment alleges that “HASC has a formal leadership and

22 membership structure” that includes a “Vice-President.” ECF No. 374, ¶ 8. The McNears assault and

23 Livermore incident are relevant to proving those allegations. Nelson was arrested in a Hells Angels vest

24 that had a “Vice President” tag, and Futrell testified that the HASC treasurer seemed to be “the man in

25 charge” Tr. 1686.

26          Moreover, the Superseding Indictment alleges that the purposes of the enterprise included

27 “preserving and protecting the power . . . of the enterprise . . . through the use of intimidation” and

28 “keeping . . . community members in fear of the enterprise through violence and threats of violence.”

     USA Objections                                        2
     CR 17-533 EMC
             Case 3:17-cr-00533-EMC Document 2604 Filed 04/21/22 Page 3 of 4




 1 The McNears assault and Livermore incident are relevant to proving those allegations. Both incidents

 2 reflect attempts to intimidate community members.

 3          Additionally, the Superseding Indictment alleges that one of the means and methods of the

 4 enterprise is that “members and associates of HASC agreed to purchase, possess, maintain, use, and

 5 circulate a collection of firearms for use in criminal activity.” ECF No. 374, ¶ 15. The Livermore

 6 incident is relevant to proving that allegation because several guns were recovered during the search. Tr.

 7 1628.

 8          Instructing the jury that this evidence should be considered “only for the limited purpose of

 9 establishing the existence of the HASC enterprise,” ECF No. 2598 at 4, is an inaccurate statement of law

10 and risks confusing the jury.

11                    B. The character of the enterprise is important to proving VICAR purpose

12          Courts have recognized that VICAR purpose can be shown through evidence that “acts of

13 violence were a common part of [the enterprise’s] culture.” United States v. Banks, 514 F.3d 959, 970

14 (9th Cir. 2008). The McNears assault, the Livermore incident, and the assaults on M.M. and J.T. are part

15 of the prosecution’s evidence that acts of violence were a common part of HASC’s culture. The jury

16 should be able to consider the evidence for that purpose as well.

17                    C. The instructions are unworkable

18          The proposed instructions are also unworkable because some bases for relevancy may not appear

19 until later in the trial, if they appear at all. For instance, the Court heard testimony that T.C. was present

20 at the time of the McNears assault, and involved in the Livermore incident. The evidence presented so

21 far may therefore bear on his credibility. For one, the evidence demonstrates T.C.’s deep involvement in

22 HASC, and makes his knowledge of the enterprise’s activities more credible. On the other hand, if

23 T.C.’s explanation of these incidents differs from that provided by other witnesses, this evidence may

24 damage his credibility.

25          Because the Court will not be able to account for these possibilities, the defense’s proposed

26 instructions are unworkable.

27                    D. The defense should identify improper uses of evidence

28          Because there are many proper uses of the evidence introduced so far, any instruction should be

     USA Objections                                        3
     CR 17-533 EMC
             Case 3:17-cr-00533-EMC Document 2604 Filed 04/21/22 Page 4 of 4




 1 aimed at restricting improper use. In other words, the Court should tell the jury the purposes for which

 2 they cannot use evidence, rather than telling the jury that evidence can be considered only for a

 3 “limited” purpose.

 4          III.      Conclusion

 5          For these reasons, the United States objects to the defense’s proposed jury instructions.

 6

 7

 8 DATED: April 21, 2022                                         Respectfully submitted,

 9                                                               STEPHANIE M. HINDS
                                                                 United States Attorney
10

11
                                                                     /s/_____________________.
12                                                               KEVIN J. BARRY
                                                                 LINA PENG
13                                                               AJAY KRISHNAMURTHY
                                                                 Assistant United States Attorneys
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     USA Objections                                      4
     CR 17-533 EMC
